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AO 245B (Rev. Cee heet 1

- Judgment in a Criminal Case

United States District Court
Southern District of Ohio at Dayton

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
CAROL A. WILSON Case Number: 3:11CRO80

USM Number: 69631-061

James T. Ambrose

 

Defendant's Attorney
THE DEFENDANT:
[v] pleaded guilty to Count: One (1) of the Indictment .
[] pleaded nolo contendere to counts(s) ____ which was accepted by the court.
(] was found guilty on count(s) ___ after a plea of not guilty.
The defendant is adjudicated guilty of these offense(s):
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 641 Theft of Government Funds 6-5-06 One (1)

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[] The defendant has been found not guilty on counts(s) ___.
[/] Counts_2_and 3 of the Indictment. are dismissed on the motion of the United States.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and the
United States Attorney of material changes in the defendant's pn

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10-14-11

 

 

 

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/ Serene ‘of Judicial Officer

THOMAS M. ROSE
United States District Judge
Name & Title of Judicial Officer

10-14-11
Date
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eet 4 - Probation
CASE NUMBER: 3:11CRO80 Judgment - Page 2 of 4
DEFENDANT: CAROL A. WILSON

PROBATION

The defendant is hereby sentenced to probation for a term of five (5) years.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two
periodic drug tests thereafter, as determined by the Court.

[/] The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk
of future substance abuse.

[V] The defendant shall not possess a firearm, ammunition, destructive device or any other dangerous weapon.

[V] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

{] The defendant shall register with the state sex offender registration agency in the state where the defendant resides,

works, or is a student, as directed by the probation officer. (Check, if applicable.)

[] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4) the defendant shall support his or her dependants and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training or
other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substance, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.
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riminal Monetary Penalties
CASE NUMBER: 3:11CRO80 Judgment - Page 3 of 4
DEFENDANT: CAROL A. WILSON

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

Assessment Fine Restitution
Totals: $ 100.00 $0.00 $ 151,721.71
[] The determination of restitution is deferred unti! _. An amended Judgment in a Criminal Case (AO 245C) will

be entered after such determination.

[“] The defendant must make restitution (including community restitution) to the following payees in the amounts
listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment
unless specified otherwise in the priority order of percentage payment column below. However, pursuant to
18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

*Total
Name of Payee Loss Restitution Ordered Priority or Percentage
U.S. Office of Personnel Management $151,721.71 $151,721.71
TOTALS: $151,721.71 $151,721.71

[] Restitution amount ordered pursuant to plea agreement $

{] The defendant must pay interest on restitution and a fine of more than $2500, unless the restitution or fine is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the
payment options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
§3612(g).

[“] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

[Y] The interest requirement is waived for the []_ fine [VY] restitution.

[] The interest requirement for the  []_ fine ([]_ restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994 but before April 23, 1996.
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CASE NUMBER: 3:11CRO80 Judgment - Page 4 of 4
DEFENDANT: CAROL A. WILSON

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as
follows:

A [¥] Lump sum payment of $100.00 as to the special assessment and $151 ,721.71 as to the restitution, due
immediately, balance due

[] not later than or
[¥ ] in accordance with [W] C, [] D, [1], or [ ] F below; or

B [] Payment to begin immediately (may be combined with [] c [] D,or []  F below): or
C [W] Payment in monthly installments of $50, to commence within 30 days of sentencing; or

D  [] Payment in equal installments of $ over a period of , to commence days after release from
imprisonment to a term of supervision: or

E [] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release
from imprisonment. The Court will set the payment plan based on an assessment of the defendant's
ability to pay at that time; or

F [1] Special instructions regarding the payment of criminal monetary penalties:

[] If the defendant, while incarcerated, is working in a non-UNICOR or grade 5 UNICOR job, the defendant
shall pay $25.00 per quarter toward defendant's monetary obligation. If working in a grade 1-4 UNICOR
job, defendant shall pay 50% of defendant's monthly pay toward defendant's monetary obligation. Any
change in this schedule shall be made only by order of this Court.

[] After the defendant is released from imprisonment, and within 60 days of the commencement of the term
of supervised release, the probation officer shall recommend a revised payment schedule to the Court to
satisfy any unpaid balance of the monetary penalty. The Court will enter an order establishing a schedule
of payments.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

[] Joint and Several (Defendant and Co-Defendant names and Case Numbers, Total Amount, Joint and Several Amount and
corresponding payee, if appropriate.):

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

{[] The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest:
(4) fine principal; (5) fine interest; (6) community restitution; (7) penalties; and (8) costs, including cost of
prosecution and court costs.
